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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


PENNSYLVANIA GENERAL ENERGY
COMPANY, LLC,                                      )      C.A.No. 1:14-cv-209
     Plaintiff                                     )
                                                   )      District Judge Baxter
vs.                                                )
                                                   )
GRANT TOWNSHIP,                                    )
    Defendant.                                     )




                                          ORDER

       AND NOW, this 31st day of March, 2019;

       Consistent with the Memorandum Opinion filed this date,

       IT IS HEREBY ORDERED that PGE’s motion for attorney’s fees and costs [ECF No.

320] is granted. PGE is awarded $100,000.00 in counsel fees and $2,979.18 in costs.

       IT IS FURTHER ORDERED that Grant Township’s motion for hearing [ECF No. 332] is

dismissed as moot.




                                                   /s/ Susan Paradise Baxter
                                                   SUSAN PARADISE BAXTER
                                                   United States District Judge




                                               1
